          Case 1:10-cr-00249-JLT-BAM Document 146 Filed 12/06/12 Page 1 of 2


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   KIRK E. SHERRIFF
     HENRY Z. CARBAJAL
 3   Assistant U.S. Attorneys
     2500 Tulare Street, Suite 4401
 4   Fresno, California 93721
     Telephone: (559) 497-4000
 5   Facsimile: (559) 497-4099
 6   Attorneys for the
     United States of America
 7
 8                          IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
      UNITED STATES OF AMERICA,                    )    CASE NO.:     1:10-cr-00249 AWI
11                                                 )
                                                   )    STIPULATION AND
12                        Plaintiff,               )    ORDER BY THE UNITED STATES AND
                                                   )    DEFENDANT MONICA MARIE
13                                                 )    HERNANDEZ TO CONTINUE
                    v.                             )    DISCOVERY MOTION HEARING
14                                                 )
                                                   )
15    ERIC RAY HERNANDEZ,                          )    Old Date:     Dec. 26, 2012
      MONICA MARIE HERNANDEZ, aka                  )    Old Time:     1:00 p.m.
16    Monica Marie Duarte,                         )
      EVELYN BRIGGET SANCHEZ,                      )    New Date: Jan. 28, 2012
17    PATRICIA ANN KING, and                       )    New Time: 1:00 p.m.
      DARLING ARLETTE MONTALVO,                    )    Court:     8
18                                                 )      (Hon. Barbara A. McAuliffe)
                          Defendants.              )
19                                                 )
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22          On November 27, 2012, defendant MONICA MARIE HERNANDEZ filed a
23   motion for discovery in this case.                The hearing date on defendant’s
24   motion is set for December 26, 2012.               Plaintiff the United States of
25   America and defendant MONICA HERNANDEZ, by and through their
26   respective counsel of record, hereby agree and stipulate to continue
27   the hearing on defendant’s discovery motion to January 28, 2012 at
28   1:00 p.m.      The Court has previously excluded time under the Speedy
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                                    Stipulation and Proposed Order
          Case 1:10-cr-00249-JLT-BAM Document 146 Filed 12/06/12 Page 2 of 2


 1   Trial Act, 18 U.S.C. § 3161(h)(7), through the August 13, 2013 trial
 2   date in this case.
 3          IT IS SO STIPULATED.
 4   DATED:       Dec. 6, 2012               By:       /s/ Scott Quinlan
                                                       (authorized on 12/6/12)
 5                                                     SCOTT QUINLAN
                                                       Attorney for defendant
 6                                                     MONICA MARIE HERNANDEZ
 7
 8
     DATED:       Dec. 6, 2012                         BENJAMIN B. WAGNER
 9                                                     United States Attorney
10                                             By: /s/ Kirk E. Sherriff
                                                   KIRK E. SHERRIFF
11                                                 HENRY Z. CARBAJAL
                                                   Assistant U.S. Attorneys
12
13
14
                                                ORDER
15
            The hearing on defendant’s motion for discovery shall be
16
     continued from December 26, 2012 to January 28, 2012, at 1:00 p.m.
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     in Courtroom 8 before Judge McAuliffe.
18
              IT IS SO ORDERED.
19
         Dated:     December 6, 2012                    /s/ Barbara A. McAuliffe
20   10c20k                                        UNITED STATES MAGISTRATE JUDGE
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                                    Stipulation and Proposed Order

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